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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8   KYLE LYDELL CANTY,

 9                                  Plaintiff,             Case No. C16-1655-RAJ-JPD

10          v.
                                                           PRETRIAL SCHEDULING ORDER
11   CITY OF SEATTLE, et al.

12                                  Defendants.

13

14          This is a civil rights action brought pursuant to 42 U.S.C. § 1983. Defendants have now

15   filed an answer to plaintiff’s second amended complaint. Accordingly, the Court hereby

16   establishes the following pretrial schedule:

17          (1)      Discovery

18          All discovery shall be completed by November 13, 2017. Service of responses to

19   interrogatories and to requests for production, and the taking of depositions, shall be completed

20   by this date. Federal Rule of Civil Procedure 33(a) requires answers or objections to be served

21   within thirty (30) days after service of the interrogatories. The serving party, therefore, must

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 1   serve his/her interrogatories at least thirty (30) days before the deadline in order to allow the

 2   other party time to answer.

 3          (2)      Dispositive Motions

 4          Any dispositive motion shall be filed and served on or before December 13, 2017.

 5   Pursuant to LCR 7(b), any argument being offered in support of a motion shall be submitted as a

 6   part of the motion itself and not in a separate document. The motion shall include in its caption

 7   (immediately below the title of the motion) a designation of the date the motion is to be noted for

 8   consideration upon the Court’s motion calendar. Dispositive motions shall be noted for

 9   consideration on a date no earlier than the fourth Friday following filing and service of the

10   motion. LCR 7(d)(3).

11          All briefs and affidavits in opposition to any motion shall be filed and served pursuant to

12   the requirements of Rule 7 of the Federal Rules of Civil Procedure and LCR 7. The party

13   making a motion may file and serve a reply to the opposing party’s briefs and affidavits. Any

14   reply brief shall also be filed and served pursuant to the requirements of Rule 7 of the Federal

15   Rules of Civil Procedure and LCR 7.

16          Defendants are reminded that they MUST serve a Rand notice, in a separate document,

17   concurrently with motions for summary judgment so that pro se prisoner plaintiffs will have fair,

18   timely and adequate notice of what is required of them in order to oppose such motions. Woods

19   v. Carey, 684 F.3d 934, 941 (9th Cir. 2012). The Ninth Circuit has set forth model language for

20   such notices:

21                A motion for summary judgment under Rule 56 of the Federal Rules of
                  Civil Procedure will, if granted, end your case.
22                Rule 56 tells you what you must do in order to oppose a motion for
                  summary judgment. Generally, summary judgment must be granted when
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 1                 there is no genuine issue of material fact – that is, if there is no real
                   dispute about any fact that would affect the result of your case, the party
 2                 who asked for summary judgment is entitled to judgment as a matter of
                   law, which will end your case. When a party you are suing makes a
 3                 motion for summary judgment that is properly supported by declarations
                   (or other sworn testimony), you cannot simply rely on what your
 4                 complaint says. Instead, you must set out specific facts in declarations,
                   depositions, answers to interrogatories, or authenticated documents,
 5                 as provided in Rule 56(e), that contradict the facts shown in the
                   defendant’s declarations and documents and show that there is a
 6                 genuine issue of material fact for trial. If you do not submit your own
                   evidence in opposition, summary judgment, if appropriate, may be
 7                 entered against you. If summary judgment is granted, your case will
                   be dismissed and there will be no trial.
 8

 9   Rand v. Rowland, 154 F.3d 952, 963 (9th Cir. 1998) (emphasis added). Defendants who fail to

10   file and serve the required Rand notice on the plaintiff may have their motion stricken from the

11   Court’s calendar with leave to re-file.

12           (3)      Joint Pretrial Statement

13          The parties are advised that a due date for filing a Joint Pretrial Statement may be

14   established at a later date pending the outcome of any dispositive motions.

15          (4)       Proof of Service and Sanctions

16          All motions, pretrial statements and other filings shall be accompanied by proof that such

17   documents have been served upon counsel for the opposing party or upon any party acting pro

18   se. The proof of service shall show the day and manner of service and may be by written

19   acknowledgment of service, by certificate of a member of the bar of this Court, by affidavit of

20   the person who served the papers, or by any other proof satisfactory to the Court. Failure to

21   comply with the provisions of the Order can result in dismissal/default judgment or other

22   appropriate sanctions.

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 1          (5)    The Clerk of Court is directed to send a copy of this Order to plaintiff and to

 2   counsel for defendants.

 3          Dated this 11th day of August, 2017.

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                                                   A
                                                   JAMES P. DONOHUE
                                                   Chief United States Magistrate Judge
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